  Case 3:16-cv-00513-D Document 137 Filed 05/11/17                  Page 1 of 1 PageID 6307


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

THREE EXPO EVENTS, L.L.C.,                      §
                                                §
                               Plaintiff,       §
                                                § Civil Action No. 3:16-CV-0513-D
VS.                                             §
                                                §
CITY OF DALLAS, TEXAS,                          §
                                                §
                               Defendant.       §

                                            JUDGMENT

        For the reasons set out in a memorandum opinion and order filed today, it is ordered and

adjudged that plaintiff’s action is dismissed without prejudice.

        Defendant’s taxable costs of court, as calculated by the clerk of court, are assessed against

plaintiff.

        Done at Dallas, Texas May 11, 2017.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE
